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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

      v.                                                      DECISION AND ORDER
                                                                   10-CR-90S
IAN CAMPBELL GENT and
JAMES LAGONA,

                           Defendants.


                                   I. INTRODUCTION

      On February 23, 2011, after an eleven-day trial, the jury returned a guilty verdict

against Defendant Ian Campbell Gent on counts 5 through 27 of a 27-count redacted

indictment, which charged him with violating 18 U.S.C. §§ 2, 1341 (mail fraud and aiding

and abetting mail fraud) and 18 U.S.C. § 1349 (conspiracy to commit mail fraud). The jury

also returned a guilty verdict against Defendant James Lagona on all 27 counts of the

redacted indictment, with counts 1-4 of that indictment also being for violations of 18

U.S.C. §§ 2, 1341.

      Defendants now each move this Court to grant a judgment of acquittal pursuant to

Rule 29 of the Federal Rules of Criminal Procedure or, alternatively, a new trial pursuant

to Rule 33. For the reasons discussed below, Defendants’ motions for judgments of

acquittal and new trials are denied.



                                   II. BACKGROUND

      The charges of mail fraud and conspiracy to commit mail fraud relate to Defendants’

involvement in the sale of debentures under the names Watermark Financial Services


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Group or Watermark M-One Holdings, Inc. (Tr. 60-61; Gov’t Exs. 4.04, 5.21, 11.19, 12.11,

12.25, 12.39, 22.20, 22.22, 22.23, 28, 30, 64). Starting in January 2006, sales staff,

originally hired by M-One Financial prior to the formation of Watermark Financial Services

in 2005, would offer clients investment opportunities in one- or two-year debentures that

promised 10% annual interest. (Tr. 53, 59-62; Deposition of Lorenzo Altadonna, Gov’t Ex.

201, at 23).       The prospective investments pitched to clients included real estate

development in Maine and a health insurance network for religious institutions. (T. 60, 397-

398, 403-404, 643; Altadonna Dep. at 91-93; Gov’t Ex. 29). Sales staff had interested

clients sign paperwork opening self-directed individual retirement accounts (“IRA”s) with

PENSCO Trust Company, a custodian for such accounts,1 into which client funds were

either directly deposited or rolled-over from an existent IRA. (Tr. 173, 397-398, 636). This

same paperwork also authorized transfer of funds from the newly created PENSCO

account back to Watermark for the debentures. (See e.g. Gov’t Ex. 5.13). Clients who

invested did not understand that the “convertible debentures” they were purchasing were

unsecured loans to Watermark which, prior to the due date for repayment, could be

converted into shares of common stock in the company. (Tr. 398; Altadonna Dep at 132;

see e.g. Gov’t Ex. 30 at 1, 3). The clients that testified at trial explained that, based on

representations made to them, they believed that they were making a safe, guaranteed

investment with little to no risk. (Tr. 387-389, 402-403, 413, 555, 585, 592-595, 693, 704-

705). Between January 2006 and May 2008, $6,758,027 was solicited from clients,



        1
          There is no allegation that PENSCO is affiliated with or an alter ego of M-One or W aterm ark. Tr.
450-451. Individuals are not allowed to hold their own assets within retirem ent accounts, therefore
retirem ent funds are often placed with a qualified custodian such as PENSCO which houses the account
and reports the value thereof to both the client and the IRS. Tr. 448-451, 636. A self-directed IRA allows
the client, rather than a financial advisor, to m ake investm ent decisions. Tr. 448.

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however, only $241,000 was actually invested, and only $545,064 in principal and/or

interest was returned to clients. Tr. 1018-1026; Gov’t Ex. 100.25.

         Defendants Ian Campbell Gent and James Lagona were originally indicted along

with Guy W. Gane, Jr., for mail fraud and conspiracy. Docket No. 1. Gane subsequently

pleaded guilty to one count of mail fraud in violation of 18 U.S.C. § 1341 and one count of

money laundering in violation of 18 U.S.C. § 1957.         (Docket No. 35).    A jury trial

commenced before this Court on the charges against the remaining Defendants, at which

Gane testified as part of the Government’s case in chief.          After the close of the

Government’s proof, this Court dismissed Counts 25, 28, 29 and 31 of the original

indictment upon the Government’s motion. (Tr. 1030-1031). Defendants Gent and Lagona

each moved for a judgment of acquittal pursuant to Rule 29. (Tr. 1041-1043, 1047).

Defendant Gent’s motion was granted insofar as Counts 1, 2, 3, and 4 were dismissed

against him, but otherwise denied. (Tr. 1054-1055). Defendant Lagona’s motion was

denied in its entirety. (Id.).

         Following this Court’s ruling, each Defendant testified in his own behalf, and the

Government presented one rebuttal witness. The jury returned a guilty verdict against

Defendant Gent on counts 5 through 27 of the redacted indictment, and a guilty verdict

against Defendant Lagona on all 27 counts of the redacted indictment. Following the

verdict, Defendants each moved for a judgment of acquittal and, alternatively, for a new

trial.




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                                         III. DISCUSSION

A.      Rule 29

        Pursuant to Rule 29, a court must, upon a defendant’s motion,2 “enter a judgment

of acquittal of any offense for which the evidence is insufficient to sustain a conviction.”

A defendant challenging the sufficiency of the evidence bears a heavy burden. United

States v. Finley, 245 F.3d 199, 202 (2d Cir. 2001), cert denied 534 U.S. 1144 (2002). “In

evaluating whether the evidence was sufficient to convict a defendant, [a reviewing court]

consider[s] all of the evidence, both direct and circumstantial, ‘in the light most favorable

to the government, crediting every inference that the jury might have drawn in favor of the

government.’” United States v. Velasquez, 271 F.3d 364, 370 (2d Cir. 2001), cert denied

535 U.S. 965 (2002), quoting United States v. Walker, 191 F.3d 326, 333 (2d Cir. 1999),

cert denied 529 U.S. 1080 (2000). When considering the trial evidence, “the court must

be careful to avoid usurping the role of the jury.” United States v. Jackson, 335 F.3d 170,

180 (2d Cir. 2003). The court may not “substitute its own determination of . . . the weight

of the evidence and the reasonable inferences to be drawn for that of the jury.” United

States v. Guadagna, 183 F.3d 122, 130 (2d Cir. 1999)(internal quotation marks and

citations omitted). The credibility of the witnesses falls strictly within the province of the


        2
          In support of his Rule 29 m otion(Docket No. 90) and supplem ental m otion for a judgm ent of
acquittal (Docket No. 144), Defendant Lagona subm itted supporting Mem oranda of Law (Docket Nos. 91,
144), to which the Governm ent responded with an opposing Mem oranda of Law (Docket Nos. 154, 159).
Lagona filed reply Mem oranda of Law (Docket Nos. 155, 160), and adopted the argum ents raised by Gent
to the extent applicable to him .

         In support of his Rule 29 m otion for a judgm ent of acquittal (Docket No. 88), Defendant Gent
subm itted the Affidavit of Robert A. Liebers, Esq., with Exhibits A-B (Docket No. 88-1), to which the
Governm ent responded with opposing Mem orandum of Law (Docket No. 98). Gent subm itted a reply
Mem orandum of Law (Docket No. 103) and the supplem ental Affidavit of Liebers (Docket No. 124). The
Governm ent responded with an opposing Mem orandum of Law (Docket No. 131), and Gent filed a reply
Mem orandum of Law (Docket No. 147). Gent also adopted Lagona’s argum ents insofar as applicable to
him .

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jury. Guadagna, 183 F.3d at 129 (noting that the court must defer to the jury even if the

evidence would also support, in the court’s opinion, a different result). A judgment of

acquittal is warranted only if the court concludes that the evidence that the defendant

committed the crime is non-existent or so meager no rational trier of fact could have found

the defendant guilty beyond a reasonable doubt. Velasquez, 271 F.3d at 270; Guadagna,

183 F.3d at 130.

       In determining whether a defendant is entitled to an acquittal, the evidence is

considered “in its totality, not in isolation, and the government need not negate every

possible theory of innocence.” United States v. Cote, 544 F.3d 88, 98 (2d Cir. 2008); see

Guadagna, 183 F.3d at 130 (“each fact may gain color from the others”). “[W]hen a motion

for judgment of acquittal made at the close of the government's case-in-chief is denied and

a defendant presents a case, then the evidence put in by the defense will also be

considered in deciding a Fed.R.Crim.P. 29(c) motion made after the trial ends.” United

States v. Truman, 762 F.Supp.2d 437, 445 (N.D.N.Y. 2011); Velasquez, 271 F.3d at 371.

Here, each Defendant moved for acquittal at the close of the Government’s case-in-chief,

Tr. 1041-1047, and each decided to testify on his own behalf following this Court’s denial,

in whole or in part, of his motion. Tr. 1054-1055, 1062, 1278. Defendants have therefore

waived any claim as to the sufficiency of the Government’s cases considered alone.

Velasquez, 271 F.3d at 371. “A defendant's testimony may thus add weight to the

government's case. To put it another way, a jury may ‘use its disbelief [of a defendant's

testimony] to supplement the other evidence against him.’ ” Velasquez, 271 F.3d at 371,

quoting United States v. Stanley, 928 F.2d 575, 577 (2d Cir.1991).

       Defendants were convicted of violating 18 U.S.C. §§ 2, 1341, and 1349 for acts of


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mail fraud, aiding and abetting mail fraud, and conspiracy to commit mail fraud. The

substantive counts of mail fraud have “three elements: (1) use of the mails to further (2)

a scheme to defraud with (3) money or property as the object of the scheme.” United

States v. Kinney, 211 F.3d 13, 17 (2d Cir. 2000), cert denied 531 U.S. 1079

(2001)(quotation marks omitted); see United States v. Somerstein, 971 F.Supp. 736, 741

(E.D.N.Y. 1997)(a conviction requires a specific intent to defraud). To establish the ‘use

of the mails’ element, the Government must show either that the use of the mails would

follow in the ordinary course of business, or that such use could reasonably be foreseen,

even if not actually intended. United States v. Alkins, 925 F.2d 541, 549 (2d Cir. 1991);

see United States v. Naiman, 211 F.3d 40, 49 (2d Cir. 2000). Because good faith is a

complete defense to mail fraud, the government is also required to prove a lack of good

faith beyond a reasonable doubt. Alkins, 925 F.2d at 549-550.

       “Conspiracy constitutes a crime, separate and distinct from the substantive offense.”

Somerstein, 971 F.Supp at 746; see 18 U.S.C. § 1349; United States v. Pinckney, 85 F.3d

4, 8 (2d Cir. 1996). “Conspiracy requires proof of: (1) an agreement among the

conspirators to commit an offense; (2) specific intent to achieve the objective of the

conspiracy; and (3) usually, an overt act to effect the object of the conspiracy.” Pinckney,

85 F.3d at 8. “[I]n order to prove a defendant guilty of conspiracy, the government need not

show that he knew all of the details of the conspiracy, so long as he knew its general

nature and extent.” United States v. Rosa, 17 F.3d 1531, 1543 (2d Cir. 1994), cert denied

513 U.S. 879 (1994). Circumstantial evidence may be sufficient to establish that a

defendant knowingly joined and participated in the charged conspiracy. Rosa, 17 F.3d at

1543-1544. “The deference accorded to the jury's verdict ‘is especially important when


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reviewing a conviction of conspiracy ... because a conspiracy by its very nature is a

secretive operation, and it is a rare case where all aspects of a conspiracy can be laid bare

in court with the precision of a surgeon's scalpel.’ ” United States v. Guerrero, __ F.

Supp.2d __, 2011 WL 6013957, *19 (S.D.N.Y. 2011), quoting United States v. Pitre, 960

F.2d 1112, 1121 (2d Cir.1992).

       Finally, as charged here, each Defendant could be found criminally liable for each

mail fraud count based upon a finding that he willfully caused or aided and abetted the

commission of the crime. 18 U.S.C. § 2; Pereira v. United States, 347 U.S. 1, 9, 74 S.Ct.

358, 98 L.Ed. 435 (1954). The jury was also charged that Defendants could be found

guilty of the substantive mail fraud charges under a theory of coconspirator liability. Tr.

1533-1536. Under this theory, “[o]nce a conspiracy has been established, the criminal

liability of its members extends to all acts of wrongdoing occurring during the course of and

in furtherance of the conspiracy.” United States v. Gallerani, 68 F.3d 611, 620 (2d Cir.

1995) (internal quotation marks omitted); see generally Pinkerton v. United States, 328

U.S. 640, 66 S.Ct. 1180, 90 L.Ed. 1489 (1946). Thus, it was permissible for the jury to find

each Defendant “guilty on a substantive count without specific evidence that he committed

the act charged if it is clear that the offense had been committed, that it had been

committed in the furtherance of an unlawful conspiracy, and that the defendant was a

member of that conspiracy.” Gallerani, 68 F.3d at 620 (internal quotation marks omitted).

       This Court finds that there was sufficient evidence presented at trial from which the

jury could conclude that the solicitation of investment funds was in fact a fraudulent

scheme, that Gent and Lagona were each aware of the fraudulent nature and extent of that

scheme, and that they collectively participated in furtherance of this scheme. Pinckney, 85


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F.3d at 8; Rosa, 17 F.3d at 1543. There is also sufficient evidence to support the

conclusion that the use of the mails, including a private commercial carrier, was reasonably

foreseeable. Alkins, 925 F.2d at 549.

       1.     Fraudulent scheme

        Evidence supported a conclusion that the sales representations made to potential

investors were false. Individuals who invested funds offered testimony that a salesperson

assured them that the investment was “guaranteed” and there was “no risk.” Tr. 387-389,

402-403, 413, 555, 585, 592-595, 693, 704-705; Gov’t Ex. 5.04; see Tr. 422-423, 428, 632

(corroborating testimony of salespersons). A business plan for Watermark Financial

prepared for prospective investors indicated that any idle funds would be invested in

treasury bills. Tr. 80-81, Gov’t Ex. 29. Other witnesses testified that, based on the

representations of salespersons, they believed that they were setting up a secure

retirement account, and these witnesses did not understand that they were in fact making

an unsecured loan. Tr. 392, 515-516, 520, 523, 546-547, 549, 554, 585, 691. One

witness testified that he was led to believe that he was placing his money in something like

a certificate of deposit “where you’re guaranteed 10 percent of your initial investment after

one year of maturity.” Tr. 555.

       The ‘guaranteed return of 10%’ and the assurances of a stable, safe place to invest

are belied by the record. Gane testified that the incoming client funds were not invested

in either real estate or in treasury bills, but were used for salaries and expenses, including

personal expenses such as alimony. Tr. 79-81, 96-97, 165. Many potential investors were

pitched on the development of Maine property even after that potential deal had fallen

through, and no real estate investment was made during the two-plus years at issue. Tr.


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63, 82, 257, 397-398, 401-403, 410-412, 643. The investment documents prepared by

salespeople and presented to clients for their signature revealed that clients were in fact

opening or transferring funds into a self-directed IRA and then making an unsecured loan

to Watermark. See e.g. Gov’t Exs. 5.07, 5.14-5.16, 5.21, 11.05-11.15, 12.07, 12.25.

Witnesses who invested testified that these numerous forms were presented to them

already completed, and the sales person would indicate where signatures were required.

Tr. 513-514, 548, 588-589, 687-688. Further testimony indicated that investors signed the

forms without reading because they had discussed the investment with a salesperson they

trusted. Tr. 392, 522-523, 555, 590, 691, 729-730. The jury was also presented with

evidence that over six million dollars was received from investors between January 1, 2006

and May 2008. Tr. 1018-1020, Gov’t Ex. 100.25. From those funds, however, only

$545,064 was repaid to investors and only $241,000 was invested in startup companies.

Tr. 1022-1026; Gov’t Exs. 100, 100.25. Witnesses also testified that they would not have

invested if the true state of affairs had been clear, Tr. 527-528, 560, 694-695, and thus the

“misrepresentations went to an essential element of the bargain.” United States v.

Schwartz, 924 F.2d 410, 420-421 (2d Cir. 1991); see United States v. Walker, 191 F.3d

326, 335-336 (2d Cir. 1999), cert denied 529 U.S. 1080 (2000); United States v. Kuna, 760

F.2d 813, 819-820 (7th Cir. 1985)(evidence that defendant concealed risk by sending false

financial reports, promoting false sense of security, sufficient to support mail fraud

conviction).

       Despite the absence of all but nominal investments, clients were continuously

assured that their accounts were doing well and had in fact already earned money. Tr.

390, 530, 535-536, 564-565, 596-597, 600-601, 705-706, 708-718 731-732; Altadonna


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Dep at 53; see United States v. Sampson, 371 U.S. 75, 80-81, 83 S.Ct. 173, 9 L.Ed.2d 136

(1962)(the use of false assurances that promised services would be performed was part

of fraudulent scheme); United States v. Angelilli, 660 F.2d 23, 36-37 (2d Cir. 1981), cert

denied 455 U.S. 910 (1982)(same). Such assurances included those in the April 7, 2008

letters signed by Lagona stating that, according to Watermark records, investments had

retained their full value plus interest. Gov’t Exs. 5.02, 11.02, 17.02. These letters were

sent in response to letters from PENSCO to account holders devaluing the investments in

Watermark due to a Securities and Exchange Commission (“SEC”) investigation. Tr. 182-

186, 476-480, 651-652; see e.g. Gov’t Ex. 5.03. Based on testimony that Gane, Gent, and

Lagona were aware that there were no assets and no investments at the time the

Watermark response letters were sent, Tr. 183, 898-900, as well as evidence that

investments continued to be solicited thereafter, Altadonna Dep at 91-93; Gov’t Exs. 236,

237, the jury could have rationally concluded that these letters, like the interest payments

to the initial investors, “were lulling devices which comprised part of the basic scheme and

its desired continued perpetration; and that the scheme applied to persons already

victimized to make them a prey for additional investment and to open the way for the

successful pursuit of the scheme as to others.” Bliss v. United States, 354 F.2d 456, 458

(8th Cir. 1966), cert denied 384 U.S. 963 (1966); see Sampson, 371 U.S. at 80-81; Kuna,

760 F.2d at 819-820. Thus, contrary to Defendants’ contentions, these letters, which serve

as the basis for Counts 23 through 26 of the redacted indictment, were properly found to

be part of the fraudulent scheme.

       There was therefore sufficient evidence from which the jury could find not just a

fraudulent investment scheme, but also a specific intent to harm on the part of all


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participants therein. See Schwartz, 924 F2d at 421.

       2.     Knowing and Voluntary Participation in the Fraudulent Scheme

       Evidence also supports the conclusion that both Gent and Lagona knowingly

participated together in the furtherance of this fraudulent scheme. See Kinney, 211 F.3d

at 17; Pickney, 85 F.3d at 8. Lagona was hired in 2005 to work for Watermark, prior to the

sale of the first debenture in January 2006, and Gane informed him that the incoming

funds would be used for salaries and expenses. Tr. 67-68, 96. Lagona prepared all

debentures, Tr. 92-93, those initial debentures became due in January 2007, and Gane

testified that Lagona was aware that no investments had been made, the investment funds

had otherwise been spent, and new investment funds were being used to pay off the

amounts owed. Tr. 84-90, 92-94 96-97; see Gov’t Exs. 4.02, 4.03. Lagona nonetheless

continued to prepare debentures. Tr. 92-93, 96-97. Gane further testified that shortly after

Gent started his employment in the “middle of March, I believe, of 2007,” Gane discussed

with Gent and Lagona the use of new investor money to pay old investors. Tr. 102, 108.

According to Gane, when he suggested that they contact the authorities, referencing the

SEC and the National Association of Security Dealers (“NASD,” subsequently named

Financial Industry Regulatory Authority or “FINRA”), regarding the inability to repay

investors, both Gent and Lagona told him that he was crazy. Tr. 108-109, 824, 835. Gent

responded that there were different ways to fix this problem than to go to the authorities.

Tr. 109. Both Lagona and Gent were also present when Gane asked bookkeeper Jane

Furlani to take home financial records in late December 2007 or early January 2008

because FINRA or the SEC would want to review them. Tr. 773, 775-776. Furlani also

testified that Gane, Gent, and Lagona were present at meetings “at least weekly” where


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accounting concerns were discussed. Tr. 774. Diane Bonvissuto, the compliance officer,

testified that she spoke with Gane, Gent, and Lagona regarding the possible improprieties

with debenture sales, particularly with respect to whether the debentures constituted

securities requiring registration. Tr. 835.

       Gent and Lagona each directly interacted with clients, either by participating in sales

meetings, Tr. 142-143, assuring clients that investments were doing well, Tr. 530, 729-732,

or promising that funds were forthcoming.          Tr. 530, 602-604, 711-721. Both were

participants in discussions with Gane on, for example, convincing the Church of St. Albert

the Great to continue its debenture on a month to month basis at a time when no funds

were available to pay the amount due, Tr. 142-143, 880-881, and on the company’s lack

of assets as of January 2008. Tr. 898-900. Further, Bonvissuto testified that Gent told her

that she “really shouldn’t be exposed to [debentures] in case [she] did have to testify. They

didn’t want [her] to know anything.” Tr. 822. Gent told Bonvissuto that Gane needed “to

continue to sell the debentures, and [Gent] talked to some other people, and they said

basically whether you sell one or 100 debentures it’s still going to be the same penalty. And

they were trying to make it so that if they raised enough money, nobody would get hurt in

this ordeal.” Tr. 831-834. Gent subsequently informed her that the FINRA representative

gave the company permission to continue selling debentures “as long as nobody is going

to lose any money and get hurt.” Tr. 841. Notably, that FINRA representative, Robert

McCarthy, flatly denied during his testimony making any such representation to Gent, as

using money obtained from later investors to pay off earlier ones “would have been

indicative of a Ponzi scheme.” Tr. 962.

       The jury heard evidence that, in addition to preparing the debentures, Tr. 92-94,

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Altadonna Dep. at 29-30, Lagona tracked or tallied the money coming in from the sale

thereof, Tr. 94, 843-845, and, according to one salesperson, explained the debentures to

the salespeople. Altadonna Dep. at 132. Further, contrary to his contention, there was

sufficient evidence that Lagona signed and sent the response letters to clients following

PENSCO’s devaluing of investments with Watermark. Tr. 180-188, 651-655, 674-675,

1430-1432. These letters from Lagona on behalf of ‘WaterMark M-One’ state that

investments had retained value and continued to accrue 10% per year. Tr. 186; Gov’t Exs.

5.02, 11.02, 17.01, 22.02. There was evidence that Lagona specifically discussed with

Gane the fact that these letters should indicate “[t]hat the customer’s full value of their

account was on the books at Watermark M-One.” Tr. 651-652. Gent also participated in

discussions regarding the need for these letters with Lagona before they were sent. Tr.

182-183, 651-652. As noted, Gane, Gent, and Lagona were aware at that time of the lack

of either assets or investments to support these assertions, therefore Watermark’s records

could not have shown that the investments had retained full value plus interest. Tr. 183,

187-188, 898-900. Additional investor funds were solicited even after these letters were

sent on or about April 7, 2008. See Gov’t Exs. 100.25, 236, 237. Notably, one of those

later clients agreed to rollover $76,000 of distributed IRA funds for the investment.

Altadonna Dep at 91-93; Gov’t Ex. 237. Lorenzo Altadonna, who made this sale, testified

that this investment was required to go through PENSCO, but although the client filled out

the forms to do so, at Gane’s instructions the check was made out directly to Watermark

M-One Holdings. Altadonna Dep. at 92-93; Gov’t Ex. 236. Altadonna gave the completed

PENSO paperwork and the check to Gent, Altadonna Dep. at 94, following which the funds

were not sent to PENSCO, but were deposited in a Watermark account the next day.

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Gov’t Exs. 100.18, 100.25.

       The jury could have reasonably concluded from the evidence above that Defendants

were not acting in good faith. According to Gane, Gent initially proposed to ‘repaper’ the

company, Tr. 101, 877. Gent testified that “what Watermark was trying to do” was engage

in a process of admitting that notes or stock in a company were “unintentionally sold,” and

obtaining an exemption from the New York State Attorney General by offering those

investors either a right of rescission or conversion of the note into an investment in the new

company “[a]nd then everything is legal.” Tr. 1096-1097; see 112. The jury could have

concluded from this testimony that Gent recognized that the sale of debentures was

improper, nonetheless debentures continued to be sold during Gent’s tenure even as the

interest on prior debentures came due. Gent also admitted that this right of rescission was

never completed. Tr. 1098; see Tr. 112. Further, contrary to Lagona’s arguments, there

was no evidence that significant progress toward actual investments occurred. Although

approximately $241,000 was invested in startup companies, it was rational for the jury to

find this amount insignificant when compared with the over $6 million in investor funds

received, and further conclude that the primary purpose of the operation was to

fraudulently deprive clients of money.

       There is also no merit in the argument that the evidence established Defendants’

reasonable belief that a purported additional investor, Konstantinos “Kostas” Samouilidis,

would commit $5 million dollars to purchase stock in Watermark. Tr. 120-122, 766-767,

1077-1087, 1232-1250. The jury was presented evidence that Defendants were involved

with Samouilidis for over a year, during which time Samouilidis not only failed to invest any

money, but in fact received over $600,000 in purported loans from Watermark. Tr. 123-

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129, 130-131, 890-891, 901, 972-973, 991-993, 1101, 1104-1105, 1120, 1249-1250, 1267,

1315-1316; Altadonna Dep. at 111-117; Gov’t Exs. 238-240. No written agreement was

ever executed with Samouilidis regarding these loans. Tr. 767-768, 994, 1147-1148, 1261-

1262; Altadonna Dep. at 119. The jury could have rationally concluded from the evidence

presented regarding Samouilidis that, as one witness testified, the process of constantly

sending money to someone who ostensibly had millions of dollars to invest “sounded like

a con,” Tr. 768, and that any reliance on Samouilidis’ promised investment was

unreasonable.

       Gent further argues that Count 5,3 which alleges the use of the mails to defraud a

client of $6,500 on March 22, 2007, must be dismissed as against him. Gent argues that

this charge predates any proof of his employment, as evidenced by an April 3, 2007 email

from Gane indicating that Gent had been asked to become a paid consultant. Aff of Robert

A. Liebers, Docket No. 88-1, ¶¶ 5-6, Ex. A; Gov’t Ex. 3504.09. Gent correctly asserts that

with regard to liability for substantive offenses, as opposed to liability for the conspiracy

itself, “a defendant cannot be retroactively liable for offenses committed prior to his joining

the conspiracy.” United States v. Blackmon, 839 F.2d 900, 908-909 (2d Cir. 1988). Here,

however, the trial record contains sufficient evidence to support a jury finding that Gent

entered into the conspiracy to defraud prior to March 2007. Gane testified that he first

began to speak with Gent regarding his business, then M-One Financial, in the fall of 2004

or beginning of 2005. Tr. 98-99. Discussions regarding Gent joining Watermark as a

consultant or employee were held in the fall of 2006 and into January and February 2007.

Tr. 99. Gane testified that he spoke with Gent about selling debentures in the “[v]ery

       3
           All references are to the redacted indictm ent (Docket No. 80) presented to the jury.

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beginning of 2007,” specifically “January, February,” prior to Gent becoming officially

associated with Gane’s company in the “middle of March, I believe, of 2007.” Tr. 100-101.

Gent himself testified that Gane contacted him in the third week of March 2007. Tr. 1062-

1063. Further, Gane’s testimony that Gent became an employee in mid-March is not

contradicted by Gane’s April email, which recognizes that Gane had already asked Gent

to become a paid consultant. Gov’t Ex. 3504.09. Indeed, as the Government notes, HSBC

records for Watermark Financial Services Group show payments to Gent as early as

February 9, 2007. Gov’t Ex. 100.15. There was therefore sufficient evidence that Gent was

involved with the debenture scheme prior to March 22, 2007.

      Gent further argues that Counts 6 through 14, which allege substantive mail fraud

charges occurring from April 3, 2007 to August 29, 2007, must be dismissed because there

was no evidence that he had any knowledge of these individual transactions. Lieber Aff.

¶ 7. Having concluded, however, that there was evidence from which the jury could have

concluded that Gent entered the conspiracy earlier than March 22, 2007, and was a

knowing participant therein, Gent’s criminal liability “extends to all acts of wrongdoing

occurring during the course of and in furtherance of the conspiracy” after that date, even

in the absence of specific evidence that he participated in each occurrence of mail fraud.

Gallerani, 68 F.3d at 620 (internal quotation marks omitted).

      3.     Use or Cause of Use of the Mails in Furtherance of the Scheme

      The Government also presented sufficient evidence that the ‘use of the mails' would

follow in the ordinary course of business. “Where one does an act with knowledge that the

use of the mails will follow in the ordinary course of business, or where such use can

reasonably be foreseen, even though not actually intended, then he ‘causes' the mails to

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be used.” Alkins, 925 F.2d at 549 (internal quotation marks omitted); see Naiman, 211 F.3d

at 49. As part of the sale of debentures, salespersons would have individual clients sign

an application to open an account with PENSCO Trust Company. Tr.170-173, 457-458,

512-522, 547-549, 586, 636, 687-688; See e.g. Gov’t Exs. 5.07, 11.06, 12.05, 22.07, 235.

PENSCO Trust Company was a New Hampshire based bank and trust with the primary

business of acting as custodian for self-directed retirement accounts, and it had offices

located in both New Hampshire and California. Tr. 170-171. 447-450. Witnesses testified

that the PENSCO forms they signed were completed by Watermark personnel. Tr. 512-

522, 549-555, 585-590, 636-637, 687-688, 691-692.           A PENSCO IRA Non-Public

Investment Authorization directed that funds placed in the newly opened PENSCO account

be sent to Watermark. Tr. 517-518, 551, 586-587, 689; Gov’t Exs. 5.13, 11.13, 12.09,

22.14. The related PENSCO Payment and Funding form requires that the funds be sent

via check overnight to the Watermark offices in Amherst, New York. Tr. 171-172, 461-463,

518-519, 552-587, 689-690; Gov’t Exs. 5.14, 11.14, 12.10, 22.15. The completed, signed

applications would then be submitted to PENSCO, and as a direct result, funds would be

sent by check overnight via FedEx from PENSCO’s California location to Watermark in

New York. Tr. 173-175, 461-463. Thus, there was sufficient evidence to conclude that the

use of the mails would follow in the ordinary course of this scheme. Alkins, 925 F.2d at

549. Further, salesperson Deborah Galas testified that she mailed the letters responding

to the PENSCO devaluation after Lagona signed them. Tr. 656, 674-675.

      Finally, Gent argues that the Government failed to establish that FedEx is a private,




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commercial shipping company, as required by 18 U.S.C. § 1341.4 Gent Supp. Mem of

Law, Docket No. 124-1, at 2-3. Even if this Court were to assume that this fact is outside

the ken of the average juror, there was still sufficient evidence presented from which the

jury could have so concluded. Notably, “the [G]overnment was required to show that FedEx

is private or commercial, it does not have to show both.” United States v. Mallory, __

F.Supp.2d __, 2010 WL 8375023, *2 (E.D.Va. 2010), affd __ Fed. Appx. __, 2012 WL

149797 (4th Cir. 2012). The FedEx shipping labels in evidence5 state “BILL SENDER,”

suggesting “that FedEx is an entity that derives revenue from the provision of

transportation services and thus it is ‘commercial’ in nature.” Mallory, 2010 WL 8375023,

*2. The labels similarly support the conclusion that FedEx is a carrier, inasmuch as the

references to billing and shipping charges indicates “that FedEx is an entity that contracts

to transport goods for a fee.” Id. at *3. Finally, the labels indicate that the checks were

shipped interstate between San Francisco, California and Amherst, New York. See Id. at

*3.

        This Court therefore finds that there was sufficient evidence supporting the jury

verdict on all counts, and Defendants’ motions for judgments of acquittal are denied.



B.      Rule 33

        Rule 33 provides that a court may grant a defendant's motion for a new trial “if the

interest of justice so requires.” A district court “has broader discretion to grant a new trial


        4
        18 U.S.C. § 1341 prohibits the use of “any private or com m ercial interstate carrier” as well as the
U.S. Postal Service in the furtherance of a fraudulent schem e or artifice.

        5
         See Gov’t Exs. 1.01, 2.01, 3.01, 5.01, 6.01, 7.01, 8.01, 9.01, 10.01, 11.01, 12.01, 12.02, 13.01,
14.01, 14.02, 15.01, 16.01, 20.01, 21.01, 22.01, 23.01, 24.01 .

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under Rule 33 than to grant a motion for acquittal under Rule 29, but it nonetheless must

exercise the Rule 33 authority ‘sparingly' and only in ‘the most extraordinary

circumstances.’ ” United States v. Ferguson, 246 F.3d 129, 134 (2d Cir.2001), quoting

United States v. Sanchez, 969 F.2d 1409, 1414 (2d Cir.1992). “The ultimate test on a Rule

33 motion is whether letting a guilty verdict stand would be manifest injustice.... There must

be a real concern that an innocent person may have been convicted.” Ferguson, 246 F.3d

at 134. A reviewing court must be satisfied that “competent, satisfactory and sufficient

evidence" in the record supports the jury verdict. Sanchez, 969 F.2d at 1414 (internal

quotation marks omitted).

        1.      New Evidence

        Both Defendants Gent6 and Lagona7 assert that new evidence exists which warrants

granting a new trial. “A new trial pursuant to Rule 33 based on newly discovered evidence

may be granted ‘only upon a showing that the evidence could not with due diligence have

been discovered before or during trial, that the evidence is material, not cumulative, and

that admission of the evidence would probably lead to an acquittal.’ ” United States v.

Owen, 500 F.3d 83, 87 (2d Cir. 2007), cert denied 552 U.S. 1237(2008), quoting United

States v. Alessi, 638 F.2d 466, 479 (2d Cir.1980).

        Gent argues that a letter submitted by Gane to this Court in connection with his


        6
          In support of his Rule 33 m otion, Defendant Gent subm itted the Affidavit of Robert A. Liebers,
Esq. (Docket No. 123-1) and a supporting Mem orandum of Law (Docket No. 123-2). The Governm ent
filed a Response in Opposition (Docket No. 130), to which Defendant Gent subm itted a Reply (Docket No.
148). Gent also adopts all of Lagona’s argum ents to the extent applicable to him .

        7
         In support of his Rule 33 m otion, Defendant Lagona subm itted a supporting Mem orandum of
Law (Docket Nos. 152 (corrected version), 93, 151), and a Supplem ental Mem orandum of Law (Docket
No. 145). The Governm ent responded with a Mem orandum of Law in Opposition (Docket No. 153), and
Lagona filed a Reply Mem orandum of Law (Docket No. 156). Lagona adopts all of Gent’s argum ents to
the extent applicable to him .

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sentencing constitutes new evidence in the present case. See Docket No. 111 Ex. B. In

this letter, Gane stated that “[a]t no time did I ever intend to harm or steal from my

investors.” Id. Gent asserts that this statement directly contradicts Gane’s trial testimony,

wherein Gane admitted to “running a Ponzi scheme.” Lieber Aff., Docket No. 123-1, ¶ 15,

quoting Tr. 178. He argues that Gane’s “recantation” warrants a new trial because if Gane

had testified that he lacked criminal intent, Gent would have had a much greater likelihood

of acquittal. Gent Mem of Law, Docket No. 123-2, at 6. This argument is without merit.

Gane’s sentencing statement is consistent with his trial testimony that he never originally

intended to create a Ponzi scheme, but believed that investment projects would start

generating income. Tr. 63, 197. Notably, Gent’s counsel cross-examined Gane specifically

on this original intent. Tr. 197-199. Nonetheless, Gane further testified that, despite his

initial intention, he started using new investor money to pay of old investors, knowing it was

wrong, to buy time when he realized that the “projects weren’t coming to fruition at all. I

kept buying more time and I had no right to do it, but I used other people’s money to try

and buy time.” Tr. 88-89, 164. Gane’s sentencing statement is therefore merely cumulative

of trial testimony, and does not warrant a new trial.

       In his Rule 33 motion, Defendant Lagona asserts that after the end of his trial he

discovered that Gane had been involved in a previous financial scheme to defraud clients,

and argues that this information constitutes new evidence warranting another trial. Lagona

Mem of Law, Docket No. 152, at 20. Lagona further argues that the Government’s failure

to turn over this information was itself a Brady violation. Id.; see generally Brady v.

Maryland, 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed.2d 215 (1963). Initially, although Lagona

asserts that Gane was previously prosecuted by the New York State Attorney General’s

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Office for a fraudulent financial scheme, Lagona Mem of Law, Docket No. 152, at 25, he

offers no specifics and no support for this assertion. In any event, Lagona has failed to

establish that the “admission of [this] evidence would probably lead to an acquittal.” Owen,

500 F.3d at 87 (internal quotation marks omitted). He argues that evidence of the previous

scheme “speaks directly to Gane’s character and Gane’s credibility, or lack thereof,”

Lagona Mem of Law, Docket No. 152, at 20-21; United States v. Rivas, 377 F.3d 195, 199

(2d Cir. 2004)(to establish “a true Brady violation” the allegedly withheld evidence “must

be favorable to the accused, either because it is exculpatory, or because it is impeaching”).

As concluded above, however, there was sufficient evidence to support the jury’s

conclusion that Lagona had knowledge of and actively participated in the present scheme

with Gane. Evidence that Gane had participated in a prior fraudulent scheme would have

therefore undermined that part of Gane’s testimony arguably favorable to Lagona: Gane’s

assertion that he never initially intended to defraud clients. See Rivas, 377 F.3d at 199

(new evidence is assessed in light of the total record). This purported new evidence is not

favorable to Lagona, and a new trial is not warranted on this ground.

       2.     Ineffective Assistance of Counsel

       Lagona argues that he was deprived of effective assistance of counsel due to the

failure to make pretrial motions for either severance or the preclusion of any reference to

Lagona’s psychic activities; failure to introduce exculpatory evidence, failure to raise

appropriate evidentiary objections, and the failure to object to misleading jury instructions.

To establish that a new trial is warranted due to counsel’s ineffective assistance, a

defendant must establish that his counsel’s performance fell below an objective standard

of reasonableness, and that, but for defense counsel’s errors, there is a reasonable

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likelihood that the outcome of the proceeding would have been different. Strickland v.

United States, 466 U.S. 668, 686-688, 694, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984); United

States v. Ramos, No. 06-CR-172, 2011 WL 291874, *3 (S.D.N.Y. Jan. 13, 2011). “In

assessing the first element, the court ‘must indulge a strong presumption that counsel's

conduct falls within the wide range of reasonable professional assistance.’ ” United States

v. Kirsh, 54 F.3d 1062, 1071 (2d Cir. 1995), cert denied, 516 U.S. 927 (1995), quoting

Striclkand, 466 U.S. at 689. Consideration of Lagona’s ineffective assistance claim is

appropriate on this Rule 33 motion because the arguments are directed at the conduct of

prior counsel.8 Ramos, 2011 WL 291874, *3, citing United States v. Brown, 623 F.3d 104,

113 (2d Cir. 2010); see Docket No. 97.

                                        a. Tainted Jury Pool

        Lagona argues that his counsel’s failure to timely move to preclude or object to

references to Lagona’s activities as a psychic-medium allowed the jury pool to become

prejudicially tainted against him. Lagona Mem. of Law, Docket No. 152, at 25-26; Lagona

Supp. Mem. of Law, Docket No. 145, at 2-11. In his arguments in support of his motion

for a new trial, Lagona concedes that the Court questioned and instructed the prospective

jurors in an effort to reduce bias, and excused those who adamantly stated that they could

not be fair. Supp. Mem. of Law, Docket No. 145, at 11. Lagona nonetheless argues that

the trial “was tainted by lingering suggestions and implications concerning religion and the

paranormal” which created doubts about Lagona’s credibility. Id. at 11.

        During voir dire, this Court asked potential jurors, at the Government’s request


        8
         Lagona’s initial subm issions on both his Rule 29 and Rule 33 m otions were pro se. Docket Nos.
91, 93, 152. Supplem ental and Reply Mem oranda of Law were prepared by newly assigned counsel.
Docket Nos. 144, 145, 155, 156.

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(Docket No. 43) and without objection from counsel, questions regarding religion as well

as their feelings toward a potential “psychic element in this case.” Transcript of Jury

Selection (“JS”) 68. These questions included whether any juror was a member of or had

strong feelings regarding either the Western Right Orthodox Catholic Church or the Roman

Catholic Church, whether any juror had “ever been to Lily Dale or visited a psychic,” and

whether anyone was “a member of the Spirit Way Project.” JS 68. Following a series of

unrelated questions, the prospective jurors were then asked if anyone had deeply rooted

feelings that could not be set aside with respect to, among other things, religion. One

prospective juror answered:

      Yes, it’s regarding Lily Dale and the psychic witnesses. I’m a very strong
      Christian and I believe that these are untrue spirits and if there is a
      testimony, I will definitely not buy their testimony and I will always be partial
      to that. My belief is teaching me that they are liars and there is no court
      system in the world that’s going to tell me to be willing to believe the lie of the
      Lily Dale. So that’s my problem with – if there is any of that, I’m just flat
      saying I would not.

JS. 79-80. Another prospective juror agreed with this opinion. JS 80. In response to the

Court’s question, defense counsel stated that “it will be mentioned by the government

witnesses that in addition to being an attorney, Mr. Lagona is a psychic.” JS 80. The two

objecting prospective jurors were excused, following which those remaining were

admonished:

      Let me emphasize everything, ladies and gentlemen. You’re hearing
      personal views and personal views are not to be imposed on you.
      Individuals are entitled to their views and what you hear should not in any
      way review it as an attempt to persuade you. You have to make up your
      minds and your [judgments] fairly and impartially on everything that’s
      presented to you. I’m letting these statements be made so that the individual
      is either comfortable or not serving as a juror. You may not have thought
      about psychics and credibility and I don’t know if there is incredibility or
      credibility, whatever because there may be.

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      Again, witnesses whomever they are and whatever they are are to be
      assessed equally taking into account factors that can be considered in
      properly determining credibility or incredibility in whole or in part and that is
      part of the difficulty of the process because you have to, in getting to your
      verdict, assess who to believe in part, in whole or not. And that’s what it’s all
      about. You’re hearing individual views that should not be taken by you as
      gospel with respect to your mindset and you are to pursue a determination
      of what’s right and fair and just according to the instructions that I give you
      according to credibility and whether the burden of proof has been satisfied
      by the Government.

JS 81. A third prospective juror was extensively questioned on her ability to separate her

own spiritual beliefs from her duty to make a determination based upon the evidence

presented, during which the following exchange occurred:

      Prospective Juror: You explained it to me, that’s what made me say what
                         I said. There’s a difference. You have spiritual
                         conviction and you have to live up to your conviction if
                         it interferes with your spiritual conviction. But this is a
                         civil penalty and you go by what’s presented to you and
                         you decide from there.

      The Court:    Well, what [we’re] talking about, when I went through my
                    questions is the Catholic faith, the Eastern Orthodox I think.

      Prospective Juror: Yeah.

      The Court:    The psychic aspect is a different consideration, but they’re
                    factors to be considered in getting to resolve the ultimate
                    issues.

      Prospective Juror: Well, in this case I’m saying he has to render under
                         Caesar. Who is Caesar? Caesar being the law and he
                         has to obey the law and if he’s broken the law that
                         you’ve asked of him, then he has to pay the penalty and
                         that has nothing to do with my relationship to God.

      The Court:    Okay. And I think that’s a fair statement. You’re asked to carry
                    out your function according to the oath that you took?

      Prospective Juror: Exactly.

      The Court:    And you will be sworn again - -

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       Prospective Juror: I know.

       The Court:    - - provided you are selected. And then the law applies to
                     everybody equally across the board.

       Prospective Juror: Exactly.

       The Court:    And you might have to figure through a consideration of
                     different aspects. I’m not saying whether it’s the psychic
                     aspect or not, I don’t know, but it may be in the mix and it may
                     be a proper consideration and if it’s not, then it’s up to me to
                     give you the proper instruction on what to consider or not,
                     okay? It may appear at first blush to be complex, but my job
                     will to be [to] put it in a slot for you where you can consider it
                     or not based on what’s proper under the law.

JS 83-84. This Court then accepted this potential juror’s additional assurance that she

could act as an impartial juror if selected. JS 81-85.

       A fourth potential juror also hesitated at this point, stating that he did not believe in

psychics and that a “psychic lawyer sounds like some kind of bad movie. Are we supposed

to believe his word over - - you mentioned a priest earlier.” JS 86. This Court answered:

       But you haven’t heard evidence or explanation and that has no burden
       whatsoever. Let’s assume for the moment that he may be a psychic or that -
       - and you heard his attorney mention that Mr. Lagona is a psychic, but
       there’s no evidence of that. Okay. So all you know is what we’re talking about
       right here. It may or may not be a valid consideration during the course of the
       deliberative process in this case, okay? And if there’s no evidence of
       something, there’s nothing to consider, all right?

JS 86. The prospective juror asked whether, “[i]f he took the stand, are we supposed to

believe or not believe him.” JS 87. The Court replied:

       [E]verybody starts out with a clean slate, everybody is not distinguished by
       status, by position, whatever that person is or say he or she is. You take
       everything that is testified to by that witness in terms of what he saw, did,
       background, if he tells you or somebody tells you that he or she is a psychic,
       how if it’s important it can be testified to and about and then you look at
       everything in the mix without prejudging that person.



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JS 87. Upon further questioning, this potential juror agreed that he could make an

individual determination. JS. 87-88.

       In light of the reservations of the four potential jurors, Lagona’s trial counsel

requested and was granted permission to conduct further voir dire regarding any potential

bias or credibility issues. JS 127, 134-135. The Court additionally asked if there was

“anybody who feels that he or she cannot afford either Mr. Lagona in particular, but either

of the Defendants or the Government a fair trial in this case employing all of the proper

considerations and instructions that I give to you?” JS. 135. No further questions were

raised by any prospective juror.

       Defense counsel’s decision to allow the potential jurors to be questioned regarding

possible bias related to ‘psychic’ matters “was neither so unreasonable nor so prejudicial

as to meet either prong of Strickland.” United States v. Price, 443 Fed. Appx. 576, 579 (2d

Cir. 2011)(strategic decision to ask during voir dire about potential prejudicial impact of

defendant’s nickname, “Crime,” rather than moving to preclude all references to same, was

not unreasonable). Notably, Lagona does not challenge the seating of any particular juror

and fails to cite any evidence of actual prejudice that might support a contention of

prejudicial jury bias. See Knapp v. Leonardo, 46 F.3d 170, 176 (2d Cir. 1995), cert denied

515 U.S. 1136 (1995). Instead, his arguments only speculate that the references to

psychic mediums made during jury selection opened the door to the potential for such bias.

       To hold that the mere existence of any preconceived notion as to guilt or
       innocence of the accused, without more, is sufficient to rebut the
       presumption of a prospective juror’s impartiality would be to establish an
       impossible standard. It is sufficient if the juror can lay aside his impression
       or opinion and render a verdict based on the evidence presented in court.

Irvin v. Dowd, 366 U.S. 717, 723, 81 S.Ct. 1639, 6 L.Ed.2d 751 (1961); see Knapp, 46 F.3d

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at 176; United States v. Nicolo, 523 F.Supp.2d 303, 318-319 (W.D.N.Y. 2007), affd 421

Fed. Appx. 57 (2d Cir. 2011), cert denied 132 S.Ct. 338 (2011). “[T]he Constitution does

not require ignorant jurors, only impartial ones,” Knapp, 46 F.3d at 176, and here the

potential jurors were questioned specifically and to defense counsel’s satisfaction about

the possibility of bias or prejudice.

       This Court finds no merit in Lagona’s argument that prospective jurors were told that

the religious beliefs of a trial witness could factor into their deliberations. Lagona Supp.

Mem. of Law, Docket No. 145, at 12, Lagona Reply Mem. of Law, Docket No. 156, at 7.

In light of the complete transcript of jury selection, the references to religion quoted out-of-

context by Lagona in fact pertain to each juror’s ability to set aside their own religious views

and base their decision on the evidence presented. “[I]n all cases, juries are presumed to

follow the court’s instructions,” CSX Trasp., Inc. v. Hensley, 556 U.S. 838, 841, 129 S.Ct.

2139, 173 L.Ed.2d 1184 (2009), and as conceded, this Court instructed the potential jurors

prior to trial and the jury itself during trial regarding the duty to reach a determination based

solely on the evidence presented. JS 80-84, 86, 88; Tr. 1454-1457, 1462, 1466-1467. The

jury was again instructed prior to deliberating that “in arriving at whether the government

has proven its case beyond a reasonable doubt, you [have] got to divorce out personal

feelings about the [D]efendants, about race religion, national origin, sex or age.” Tr. 1466.

       Accordingly, “[t]here is nothing in the record to suggest that the jurors ultimately

selected failed to meet the jury standards and were unable to reach a fair and unbiased

verdict.” United States v. Gonzalez, 483 F.2d 223, 226 (2d Cir. 1973); United States v.

Devery, 935 F.Supp. 393, 405 (S.D.N.Y. 1996), affd 128 F.3d 38 (2d Cir. 1997), cert

denied 523 U.S. 1065 (1998).

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                                 b. Prejudicial Evidence

       Lagona argues that he was denied a fair trial due to the introduction of testimony

that wrongfully suggested illegality and other wrongdoing unrelated to the elements of mail

fraud and conspiracy to commit same, and such evidence tainted and confused the issues

at trial. Lagona Supp. Mem. of Law, Docket No. 145, at 15-20. Specifically, Lagona

asserts that references to “Ponzi schemes” and to the necessity of registering the

debentures as securities had an improper effect on the jury’s consideration of the case. Id.

at 16-17.

       Initially, the term ‘Ponzi scheme’ was used only sporadically over the course of this

eleven-day trial. Tr. 19, 88-89, 178, 611-615, 962, 1164-1165; see Price, 443 Fed. Appx.

at 579 (no reasonable probability of altering the result of the proceeding from occasional

use of defendant’s “Crime” nickname). Gane and FINRA representative Robert McCarthy

testified that the term ‘Ponzi scheme’ is a reference to when new investor money is used

to pay off previous investors. Tr. 88-89, 956-957, 962. The jury was also afforded Gent’s

explanation of the term, which was that:

       A Ponzi scheme is defined [as] what Ponzi was doing, and he was selling a
       trading program and postage stamps and offering excessive rates of return
       in a very short period of time, like three months, and promising 50 percent
       or 100 percent of the money. It uses shills to promote it. And the payments
       and the promotion of the profits are used to induce more people to come to
       the situation.

Tr. 1164. Gent distinguished this from a situation where a company is doing something

that “has value, has filed an offering document or has an offering document, and has a

means of paying it all back, then the Ponzi element disappears, because that’s just like a

bank selling CDs.”    Tr. 1164-1165.     Thus, the testimony regarding Ponzi schemes


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highlighted that a primary question for the jury’s consideration was the existence of

fraudulent intent, an essential element of mail fraud. See Somerstein, 971 F.Supp. at 741.

In any event, the Court instructed the jurors that they were not to consider “similar cases

that might involve Ponzi schemes or whatever in the media that are unrelated to this case

. . . so that fairness is done to both sides in this particular case.” Tr. 864; see CSX Trasp.,

Inc., 556 U.S. at 841.

       With respect to evidence regarding the need to register debentures as securities,

“it is a general principle of law, that whenever a fraudulent intention is to be established,

collateral facts tending to show such intention are admissible proof.” United States v.

Lamont, 565 F.2d 212, 215 (2d Cir. 1977), cert denied, 435 U.S. 914 (1978)(citation

omitted). Thus, evidence that Defendants knew of or believed there to be such a

requirement and consciously ignored it is probative of fraudulent intent. United States v.

Cusack, 229 F.3d 344, 347-348 (2d Cir. 2000); United States v. Eisner, 59 Fed. Appx. 379,

382-383 (2d Cir. 2003). Further, there was also evidence presented that the debentures

were not required to be registered, including testimony that the debentures were not

securities, Tr. 1142-1143, and that Defendants had received legal advice to that effect, Tr.

284-287, 839, 1088-1089, 1143-1144, 1298-1301. McCarthy, the FINRA representative

with approximately fifteen years experience with that organization, could not rule out the

possibility of a debenture that was not a security. Tr. 956-957, 964. Thus, testimony

regarding a debenture’s status as a security also provided evidence from which the jury

could have concluded that Defendants were acting in good faith, and the ultimate

resolution of any such conflicting evidence fell squarely in the province of the jury.




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                              c. Misleading Jury Instruction

       Lagona further argues that the jury instructions were misleading and presented a

substantial likelihood that he was wrongly convicted based upon juror confusion. Lagona

Supp. Mem. of Law, Docket No. 145, at 11. “A jury instruction is erroneous if it misleads

the jury as to the correct legal standard or does not adequately inform the jury on the law,

and an erroneous instruction, unless harmless, requires a new trial.” United States v.

Jordan, 591 F.Supp.2d 686, 721 (S.D.N.Y. 2008)(internal quotation marks omitted).

Initially, Lagona does not take issue with the fact that this Court charged the jury on co-

conspirator liability for the substantive mail fraud counts, as requested by the Government.

Docket No. 55. The relevant portion of this charge requires the jury to find:

       First, that the crime charged in the substantive count was committed;

       Second, that the person or persons you find actually committed the crime
       were members of the conspiracy you found to have existed;

       Third, that the substantive crime was committed pursuant to the common
       plan and understanding you found to exist among the co-conspirators;

       Fourth, that the defendant was a member of the conspiracy at the time the
       substantive crime was committed;

       Fifth, that the defendant could have reasonably foreseen that the substantive
       crime might be committed by his co-conspirators.

Docket No. 55 at 2-3.

       Lagona argues instead that the Court’s instructions related to this charge as

delivered at trial were misleading:

       But what this says is you may find without establishing all of the elements of
       mail fraud if the proof beyond a reasonable doubt establishes these five
       elemental considerations. First, that the crime charged in the substantive
       count was committed, mail fraud.


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       Two, that the person or persons you find actually committed the crime were
       members of the conspiracy you found to have existed. Okay. So you’ve got
       Count 27, the conspiracy.

       Third, that the substantive crime, the mail fraud, was committed pursuant to
       the common plan and understanding you found to exist among the
       conspirators. Okay. So you got the plan to accomplish unlawful objective,
       to wit, the mail fraud. So you’re now at element three, and that the
       defendant that you’re considering was a member of that conspiracy at the
       time that the mail fraud was committed. Okay. Conspiracy, mail fraud
       committed. He’s a member of that conspiracy at the time the mail fraud was
       committed.

       And fifth, that the defendant could have reasonably foreseen that the mail
       fraud crime might be committed by his coconspirators.

       If all of those five elements exist beyond a reasonable doubt and you find
       that by that proof standard, then you may find the defendant guilty of the
       substantive crime charged against him even though he did not personally
       participate in the acts constituting the crime or did not have actual knowledge
       of it.

Tr. 1534-1535 (emphasis added). Lagona asserts that this instruction renders it “unclear

whether there are really five or only four elements that must be shown.” Lagona Supp.

Mem. of Law at 14-15. Despite the fact that the word “four” or “fourth” was not used, the

charge as given clearly states all five elements necessary for the jury to find Defendants

guilty of the substantive mail fraud charges. The jury instructions were therefore not

misleading with respect to the correct legal standard, and the failure of Lagona’s counsel

to “make a meritless argument does not rise to the level of ineffective assistance.” Kirsh,

54 F.3d at 1071.

                                d. Remaining Arguments

       Defense counsel’s failure to move to sever Lagona’s trial from that of the

codefendants was not unreasonable. The argument that severance was warranted in the

instant case has already been raised before this Court and denied. Docket No. 33. In

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considering the motions of Gent and Gane9 for severance, this Court noted that “separate

trials may be warranted where the risk of prejudice is high,” but concluded that, in the

instant case, there was “no serious risk that a trial right will be denied or that the jury’s

verdict will be unreliable.” Docket No. 33 at 4. Thus, Lagona cannot be said to have been

prejudiced by his counsel’s failure to separately move for severance. Kirsh, 54 F.3d at

1071.

        Lagona next argues that trial counsel was ineffective due to his failure to present

available exculpatory evidence. He asserts that “a number of emails found on other

parties’ computers . . . clearly show that Lagona was not part of Gane’s ‘inner circle.’”

Lagona Mem of Law, Docket No. 152, at 26-27. Lagona does not, however, provide these

emails or describe their contents with any specificity. Similarly, Lagona asserts counsel

was deficient for failing to call additional witnesses from St. Albert’s church. Id. at 28. He

states that he “does not believe that counsel interviewed these potential witnesses to

ascertain their recollection of Lagona’s participation at the meeting, or lack thereof,” Id. at

28. Neither the record nor the motion papers provide any indication apart from Lagona’s

current speculation that the testimony of these witnesses would have been exculpatory.

Unsupported, self-serving statements as to the value of evidence is alone insufficient to

establish ineffective assistance of counsel. United State v. Mejia, 18 Fed. Appx. 20, 23,

(2d Cir. 2001), cert denied 534 U.S. 1035 (2001), citing Underwood v. Clark, 939 F.2d 473,

475-476 (7th Cir. 1991). Further, a counsel’s decision “ ‘whether to call specific witnesses -

even ones that might offer exculpatory evidence - is ordinarily not viewed as a lapse in

professional representation’” Grant v. Ricks, 151 Fed. Appx. 44, 45 (2d Cir. 2005), quoting

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            These m otions were m ade prior to Gane’s decision to plead guilty. Docket Nos. 20, 21, 33, 35.

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United States v. Best, 219 F.3d 192, 201-202 (2d Cir. 2000).

       Defense counsel’s decision not to challenge the capacity of Lorenzo Altadonna to

testify, as Largona argues he should have, is not called into question on this record.

Altadonna’s videotaped deposition was played at trial following this Court’s finding that he

was unavailable for medical reasons pursuant to Rule 804 (a)(4) and the deposition

admissible pursuant to 804 (b)(1). Tr. 370-371. Altadonna’s deposition was initially

videotaped as a precaution prior to his undergoing surgery, and admitted into evidence at

trial after it was determined that chemotherapy had rendered the witness too physically

weak to appear. Id. There is nothing in the record that would support Lagona’s conclusory

assertion that “Altadonna’s mental condition was highly questionable.” Lagona Mem of

Law, Docket No. 151, at 29. Further, Altadonna was questioned regarding the impact of

his illness on his memory. Altadonna Dep. At 173-174. Any inconsistencies in or credibility

issues with Altadonna’s testimony itself were within the province of the jury to resolve.

Guadagna, 183 F.3d at 129.

       Lagona finally argues that defense counsel was ineffective in failing to cross-

examine Gane on his “intent to say and testify to whatever the [G]overnment wants him to

say.” Lagona Mem of Law, Docket No. 152, at 31. Contrary to this assertion, defense

counsel specifically asked Gane about his response to investigators, “[w]hatever you

need,” when asked to testify. Tr. 334. Defense counsel further cross-examined Gane on

his hope and expectation that he would receive a lower sentence as a result of testifying

on behalf of the Government. Tr. 331-335.

       The individual arguments raised by Lagona are without merit, and therefore he has

failed to show that his counsel’s performance fell below an objective standard of

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reasonableness. Strickland, 466 U.S. at 686-688. A new trial is not therefore warranted

due to ineffective assistance of counsel, or any of the individual alleged errors asserted in

support of that argument. Lagona’s Rule 33 motion is denied.



                                    IV. CONCLUSION

       There was sufficient evidence to support the jury’s verdict with respect to all

charges, therefore the Rule 29 motions for judgments of acquittal are both denied. Neither

Defendant has established that circumstances exist warranting a new trial, and the Rule

33 motions are also denied.



                                       V. ORDERS

       IT HEREBY IS ORDERED, that the Motions and Supplemental Motion for

Judgments of Acquittal of Defendant Lagona (Docket Nos. 90, 144) and Defendant Gent

(Docket No. 88) are DENIED;

       FURTHER, that the Motions and Supplemental Motion for a New Trial of Defendant

Lagona (Docket Nos. 92, 145) and Defendant Gent (Docket No. 123) are also denied.

       SO ORDERED.



Dated: May 19, 2012
       Buffalo, New York

                                                         /s/William M. Skretny
                                                         WILLIAM M. SKRETNY
                                                               Chief Judge
                                                        United States District Court




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